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CIVIL COURT U`F TI“IE CI.'I"Y OF NEW YORK Index No. ! 0 63 7(.£
COUNTY OF BRONX _ M`otinn Ca|endari\iu. l ' 2

l’AR'l Mc)tion Date: O
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lie itation as required by C.PLR 2219(11) ofthe 111 ipe1s considered 111 the review of this motion foran
der granting dei"‘ lult judgment against the defendant (S).

 

 

Pnpers Numi.)ered
Notiee of Metion and Afi'idavits Anne:i;ed .............................
O`rder to Sliow Ca‘use and Ai'fidnvits Anne.\;ed .......... : ........... m
Answering Affidnvits ................................................................
Re[iiying Afi`idavit,s ...................................................................
Exhibits ......................................................................................

Othnr ..........................................................................................

Upon the foregoing pnpers, me Decz`.si'mi/Om'er on this 111111‘1'1111 is n.sfnliows:
The plaintiff's motion for default judgment against the defendant(s) is hereby granted on
defaultl (;’>\ shelf (O l'\ L_A Wé, CM \G>.QL-Ccl_ W 1"£6\
'l`he plaintiff ‘ (s)’ motion papers have established a prima facie ease for the relief sought by
submission of proof of service of the summons and enmplaint, affidavit (s) in admissible form
settingl forth the agreement between the parties, the facts eonstituting the clailn, the default, and
1l1e amount due, and making the instant application within one yeni of defendant (s) default‘.-_'rg/

i'_....-_.--"-'*

'I`heCourt finds that the pla1ntttf(s) (1~1 are)enutied toieeovei the sum 111‘1;$§ \_:`:\*[0_ .’¢¢D?(
from the defendant (s) along with inteiest from §WMXM` and mm md
disbursements A proposed judgment on notice of settleniei and bill of;e;sts if any 111111,r be
presented to the Cierk of the Court for entry, and the Clel'l< of the Ceurt may enter judgment

accordingly _
This constitutes the decision and order of t_l1e Court.

§111)»11;)[?

DATE

 

 

Page 1

`1'M"""` W">-WWWWM_ - 'ill‘r'f».‘.‘i‘?”i¥f‘. FFW; _1$,‘!-‘¢§‘9£':Ethtt'in,l'vs\'i‘t-*s~l"k\'1§"2,‘¥:'11‘1'1'-"111:.'1~;‘1-'1'1\\11-"¢\'1. 111 .-

 

 

 

CaSe 1:16-CV-02134"_“;K\|_C DOCU'm~em 86_-2--§

 

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f ”']

 

 

j CIVIL COUR.T OF THE CITY OF NEW YOR.K
;\ CC)UNTY OF BRDNX ITND.EX NO, 100374/03
-" -------------------- X FILE NO. 4644
BRONX PARK EAST LLC-,
» PLAINTIFF h NGTICE OF MC)TION `i`
cz¢,/”#/ z~f ' "-
» AGAINST _ §§ ¢/. . …1.;
RAYMC)ND GRANDIS ON.,
~ I)EFENDANT - '*-~:_3
........... _“- m-m--.m“X ',`fl'\

MOTIC)N BY:

DATE, T[ME AND PLACE
OI*` I'IEAR.I'NG:

SUPPC)RTI'NG PAPERS:

R.EL]'_EF REQUESTED:

 

K.AVULICH & ASSOCIATES, P.C.
ATTORNEYS FOR PET[TIC)N'ER

MAY 13 2009 ‘~-- _.
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YORK - COUNTY 011 BRONX _

351 GRAND cONCC)LJRSE W”
BRON)<, NY 10451

AFFLRMATIQN c;)F MATTH'EW .N. z
KAUFMAN, ESQ., DATED Apnl 23, 2009, F
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ALL THE PAPERS AND PROC:EED]NGS -f
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Case 1:16-0\/- OZ,,J‘M'°*TALC Document 86- 28 Filed 08/18/17 Page 3 of 40

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I;)ATED: NEW ROCHELLE, NHW YORK
Aprix 20, 2009 YOURS, ETC

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KA)J’UL€EC: ‘,'r€:H¢&“’ ocha-’PE?§ P. c
BY- MATTHE KAUFMAN, EsQ.
30 CHURCH REET_ sUITE 26
NEW ROCHELLE NY10301
914-355_2074

`x

To; RAYMC)ND GRANDIS<:)N
036 E. 233‘“’ STRBET, APT. 20
BRONX, NY 10460

Page 3

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Cou NTY or aaowx transit No, 100374/03
------------------------------------------------------------- it tends No. 4644
aaot~tx PAaK aAsT, LLct,
- PLAINTIFF - AFFaiMATtoN m
sUrPoaT
- aeatt~tsr _

RAY`M.OND GRANDISON.,

~» DEF}E`.NDANT -

________________________________________________ X

MAT“I`I'IEW N. KAUFMAN, ESQ., an attorney duly admitted to practice law
before the Courts of the State ochw Yoric hereby affirms the following under the
penalty of perjury.

l.

I am an associate of the law firm of Kavulich rfc Associatcs, P.C.,
attorneys for the Petitioner_, herein. As sueh, I am fully familiar with the
facts and circtnnstances of the within proceeding except as to those
matters stated to bc based upon information and belief, and as to those
matters I believe them to be true. 'fhe basis of my belief is information
furnished to me by my client, infomtation contained within the Court’s
[ile, and information contained within the file as maintained by your
afftrniant's office

I make this aff\miation which seeks an Order awarding the Plaintift`a
default judgment for the sum sought in the summons and complaint based

upon the Defendant‘s failure to timely file an answer to the summons and
complaint.

The within proceeding was commenced by the Ptaintiff against the
Defendant for based upon the Defendant’s failure to pay rental arrears for
the premises known as 2322 Bronx Parl< East, Apt. N32, Bronx, NY
10467. Annexed hereto as Exhibit “1" is a copy of said summons and
complaine

The Defendant was served on or about November 8, 2008 at 636 L=,M,[
233"‘1 Street, Apt, ZR, Bronx, NY 1046& Annexed hereto as Exhibit “2” is
a copy of the affidavit of service of said summon and eoinplaint.

Page 4

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Dated:

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No\v nearly 180 days have elapsed since the summons and complaint was
served upon the Defendant, and the Defendant has failed te timely llle en
answer to the summons and complaintl

Your afl"innant’s office had previously submitted a request for a default
judgment to the clerk of the court on or about February 12, 2009.
Annexed hereto collectively as exhibit 3 is a copy of saidjudgme;nt
request.

'I`he judgment clerk rejected Plaintiff's judgment request alleging that a
notice mailed to the defendant by the court was returned as undeliverable.

Annexed hereto as Exhibit 4 is a copy of the judgment clerks rejection
notice.

Defel“tdartt Was served at the address listed on her credit repol“t‘. Artrle>ted
hereto as Exhibit 5 is a copy of the Accurint printout for the Dcfendant.

'l`o date the Defendant owes the Plaintiff $3,146.78 in rental arrears.

Aniiexcd hereto as E-:>thihit 6 is the affidavit of Natta`li Levenbrown agent
for the plaintiff

As the Defendant has still to date not filed an answer to the summons and
complaint, your affirmant respectfully requests that this honorable court

enter a default judgment for the sum sought in thc summons and complaint
in favor of the plaintiff against the Defendant.

WHEREFORE, your affirrnarit respectfully requests that th instant

motion be granted in all respects and for suclr r a d fu her relief as to
// ?/_N"l

this court may seem just and proper.
Matthew N. Wam, risq,,

  

/
New Rochclle, l`~lcw York. /
April 28, 2009

 

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coUN'rr or saoi~i'x
...................................................... g

Bronit .Parl-t East, LL,C,
Plaintil"i`, INDI§X NO.
lille NO. 4644

-against-
SUMMO`NS
l’lace of Veniie is Plaintiff's
place of business:
ltaymorid Grandisen,
2822 Broox Parlc ll:iast
Bron'x, NY" 10467
Defendant(s)

...................................................... x
To the above named defendants($):

YOU ARI:`, l-IEREBY SUM`MGNETJ to appear at the CIVIL COURT Of" 'l`HE CITY Ol`~`
NEW YC)RK, COUNTY Ol`~` BRONX at the office of the clerk of the said Court at BSl Grand
Cencourse, Bromt, NY 10451, in the COUNTY DF BRONX. State ochw York, within the
time provided by law as noted below and to file an answer to the below complaint with the
clerk: upon your failure to answer, judgment will be taken against you for th sum of $ '
with interest thereon from February l, 2007 together with costs of this ac ‘ '

  
       

DATED: October lt”), 2008

Kavulich ¢‘ Associates, P,C,
Atlorriey for Plairitiff
30 Church Street
Suitc 25
l\lew l{ochelle, NY 10801
(914) 355-2024
L)_¢;Mt“_a"i_u_`gyaddress:
Rayniond Grandison
636 E. 233rd Street, Apt. 2R
Bron)t. NY 10466-4050

 

Note: 'l`he law provides that: (a) lf the summons is served by its delivery to you personally
within the City ofNew Yorlt, you must appear and answer within 'I`WENTY days after such
service; or (b) If the summons is served by any means other than personal delivery m you
within the City oft\lew ‘r'erlt, you must appear and answer within THIR'I`Y days after proof UF
service thereof is filed with the Clerk of this Court.

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i..‘--.-.-~-r":*t"“ "'

C(JMPLAIN'I`

lillth ACTION: Pliiintii`f seeks to recover damages from defendant(s) for breach of a lease
agreement in the sum of Sd,l 46.78 representing rental arrears for the months of February, 2007
balance ot`$140.65; l\/tarch, 2007 through and including January, 2008 attire agreed monthly
sum of 5?27.83 for the premises known as 2822 Broii>t i’arlr East, ,ftpt.N.iZ Bronit, NY 10467

together with costs and disbursements of this action and for such other and further relief as the
court may deemjust.

§ECQND ACTION: Plaintiff seeks to recover damages from the defendant in the sum of $0.00

representing damages together with costs and disbursements of this action and for such other
and further relief as the Court may deem just.

'l`HlRD ACTION: Plai.ntiff seeks to recover damages from the defendant in the sum of

$500.00 representing reasonable attorneys fees together with costs and disbursements of this
action and for such other further relief as the Clourt may deem just.

WI'IEREFORE, Plaintiff demands judgment (A) on the I+`irst Action, in the sum of $8,146.78
plus interest from licbruary l, 2007 together with costs and disbursements of this action and
for such other and further relief as the Court may deem just, (B) on thc Sccond Action, in the
stith of 0.000 plus interest front February l, 2007 together with eosts and disbursements of
this action and for such other and further relief as the Court may deemjust, (C) on the “I`hird

Aetion, iii the sum of $500.00 together with costs and disbursements of this action and for
such other and further relief as the Court may deem just.

Tlie Plaintli`i`in this action is NOT required to be licensed by the blew York City
t;\epartment of Consumcr Affairs.

F'age 8

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ctvtt, Coua“r or 'rt-tt~: ct't"r or straw Yotttr trades ita weather
Cout~trv or peoria Filsd= _-t...i__

Attorneys: Kavulicit tit Assoeiates, F.C.
Address: 30 Chu.rch Street, Suite 26, New Rochelle, NY lOSUl Ft'le No. 4644

 

BRONX PARK EAST LLC,
VS.
RAYMOND GRANDISUN,
State ochw Yorlt tijount;'l oi`Nassau SS:
Ls_,t_on G. Evatts__lj_, being dul},r sworn deposes and says:
Deponent is not a party herein, is over 18 years ol`age. Dn Ngvembe; §, 2008 at 2;§}39,m.

At: 63§ E. 133"" Street, Agt. ZR, Bronx, NY ltM served the within Summons and Cornplaint
on; RAYMOND GRANDISON, Defendant therin named

individual lay delivering a true cop_v ot` each to said recipient deponent knew the person

[] served to be the person described as said person therein
Corporation By delivering tc and leaving with _m and that deponent knew the

f ] person so served and authorized to accept service on behalf of the Corporation
Suitable Age E§,"delivering a true copy ot` each to a person of suitable age and discretion

Pcitison Satd premises is recipients [ ] actual place of' business [] dwelling house within the
SIHH.'._

Afiixing By allis-ing a true copy ot` each to the door ot` said premises which is recipients
to t;[>§gr f l actual place ol` business [X] dwelling house (placc ot`abode) within the state

Mail Copy On ht`p_“g¢nn_ lLr ltl, QQQ§ deponent completed service under the last two sections by
[ st ] depositing a copy ol"the Suntntons and Complaint to the above address in a l"1 "~'
c(jjlass lt:)rr.)perl)ctiaddressedl envelope marked *‘Personal and Conhdential“ in an ot’licial
repository on er t te erc usive care and custody ot`the tlnited Stat t* `“ ' - ‘
GFNEW Vork‘ es ost Olltr:e tn the estate
Deponent was unable, with doe diligence to find the reci lent o ~ ' »
and discretion having called thereat: p r a person Or:`ulmhle age

on the s°* day arnevemt~.er, secs st tail tp.m.
on the r"‘ say crt~tsvsmeer, sees st t:ssp.m,
Cln the B"‘ day ofNovember, 2003 at E`l:OBp.m.

Description A description ortho Det”endant, or other person served on behalf oftln.- personam
[j $¢t.;;_Color ot` skin: ___`________Color of Hair: Age: Height: W¢ight_-

Militery Svce Deponenr asked person spoken to whether the recipient was presently in military
[ X ] service of` the United Statcs Govcmment or of the Statc of t~tew Yort-t san was
informed that the recipient is not Recipicnt wore civilian clothes and no militarv uniform

Other
[x].._lohn DDC“ neighbor stated that the D endant is not in the militaryh r /‘:) /_

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of Aston _ Evm‘§'§~[p T_H.

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C`ase`1516-`cv-`02`134-ALC Documeniae-za Filed 03/18/17 Page 11 of 40

 

 

 

 

 

    

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STATE OF NE,W YOR.K, CC)UN'I`Y (`_)I" WES'I`CI'[ESTER:
'l.`i“lll". UNDERS!GNED, A'I"I`ORNEY AT LAW C)F THE STATE OF NEW YORK, ON CJF THE
i\'i"i`ORNLY(S) O§ RECDRD FOR 'I` HE P`LAINTII`F(S) IN THE ABOVE ENTI’I`LED ACTION,

  
 
 
 

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DA"IED: Wli$'i CHESTER,NY
211212009

 

y _______
KAv'tiLici§ -

BY: GARY KAVU]_. ' '1, ESQ.
30 CHURCH S'I`I~‘..]EE'I`, SUITI:`. 26
JU'DGMENT ENT]`:`.KED O`N NEW ROCHELLE, N`t' 10301
SlSll,ViCE OF SUMMONS AN`D COMPLAI`NT i.N ”l`iilS AC'I'ION ON 'l`l‘IiS DEFENDAN'I'(S)
i~lERli`.iN HA\"ING 13]"_".1:51‘1 COMPI..ETED ON 12!27/2003 Wl'l`i'iiiN 'i"i'li§ Ci'l`Y OF NEW YOI.?..K. ON 'I`HAT DAY AND =`\JIORE ”i"ii.i\`\' 'J()
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Atso stone 'l‘HAN 30 DAYS HAVING rsLn.PSt-io sims Ti-is DAY OF CoMt>Li=,TION ot= statement mm Ttin TNF or snni
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NOW ON MOT[ON Ui" K.AVULICI‘! dc ASSOCIATES, P.C. ATTDRNEY(S) FOR THE iiLi\iiN'I`Il'-`}'“(S) l`I` iS. ADJI_§I)GED T!lf\i
Bt'ottl< Pal'i\£ Ea$f, LLC
RESIDING AT: 2322 Bronzt Parl: East Broit:<, NY 101167
R_ECOVER DF Rayinound Grandisoit
l?.ESl.i:JiNG AT: 636 iiast 233id Sl't'eet Bronx, NY 10466-4050
TllE SUM OF 33,146.7SW1T1"1 IN“I“EREST OF $1,106114 MAK]NG .r‘\ 'FO'!`AL Oi"" $9,252.92_TDGET1-I`ER Wl'l`l‘l $|6040() [,'()5‘,'1"5_; AN[__~,
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AGAH\ ST AMOUN‘{` DUE
Raymoond Grandison
DEFENDANT(S)

TA‘l` OI-“ NEW YORK. CC)LJ'l-l'l`Y OF WES'[`CHES'I`ER d _1 11 , _ ,
§S: GERY `KAVUL.ICl-l, ESQ. iiF,REBY DEFOSES AND SAYS 1.)'NDER. THH `l’ENALTiES C)l`~` PUR.J`[JRY, Ti:IAT Dl:'l’_ONI.il\£ I` 15 ”l l_-lllT-.
A'FTORNEY iiCJR Tl-'iE PLAINTll-`Ii(S) ll-l Tl-iE Wl'l`i~IlN AC”i`lOl‘~l; ”I‘l'iiS AC"]`{ON WAS C.`Ol'vllvllENCED BY SLJBSTI 1 l__T‘ED iil:l{V111,ls
OF “l`l-li'rl SUMMONS !\Nl) COMI’LMN'I‘ UPON DEP`!SNDANT(S) AN.D I.'S AN ACTION FOR. RENT IJUE AND OWIN(_i FOR (AF I 1311
APPi.lf_`A'l'lON OF PAY`M`EN'|` AND SECURlTY DEI’OSIT)

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Yottt<. RENT WAs NOT ram BY aNY outlets sOURCE. t MAKE Titts At~‘t~‘lt'tMATION UPON tNFORMA't'toN AND nntittst=, ii

Bi_"'.i.iiii"` iiREDIC`ATED U["ON CONVERSATIONS WITH ivIY CLIEN'|`, MY iNVOIn\/EMENT IN ' _ E PROCEEDING AND Ri.i./\Dli\"'ll:i
"1'|-11?. 1"|1,§. I`N Ti'lIS CASE.

SECC)ND AND Ti-IiRD CAUSES DF ACTION AF.E l'IEREBY WAIVED.
Wl'-lEREFORi`S DEI”ONENT DEM.A`NDS .]'UDGMENT AGAINS“]" 111 "
2111200'7 TOGETI"HER WlTI-I COSTS AND D]SBURS`EMENTS C`ll" 'l`i' 1

  
  
 
 
  
 
 
    

."J'SWITH IN'I`ERE'S'[` FROM

KAVULIC`.H t .. "

l_l't’: GARY VULICH, ESQb
30 CHURCI'{ STREET, SUITE 26
NEW RDCI‘IELLE, NY 10001

'1'0 ‘t't-te DEFENDANT(s): PLEASE rates stories Tl-ti\'r 'rt-it=, Wt'rt-tts\t ls a "I`Rt)t"~; crow or A ittooniisi\ti" canon strip
t.zt~rt“t=.ttso IN Tiin wrer ENTrrLtzt) norton AND outer i-‘it.t=,t') let 'rt-ti:=. weston or 'rtiii Ct,t-:ttir. orrl ‘rt-tt-: t;:il)tir\rt' on
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Case 1:16-cv-02134-ALC Document 86-28 Filed 08/18/17 Page 14 of 40

 

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INDE>'C NO. 100374/03

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GRANDISDN RAYMOU`ND Eased on thc information you have t`urnished, the IDMDC does not possess
any information indicating that thc individual is currently on active duty.

 

 

 

 

 

Upon searching the intoniiation data banks ol` the Departinent ol` l`)cl`ense Manpo\ver Data Center, based on the
information that you providcd, the above is tito current status ol`tlie individual as to all branches ol"thc
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Depnrtnient of Defcnse ~ l‘vlanpo\ver Data Center
1600 Wilson Blvd., Suite 400

Arlington, VA 22209-2593

 

'l`he Dcl`onsc lvfanpo\vcr Dattt Ccnlcr (DMDC) is an organization of thc Dcparlntent oi` Del`cnsc that maintains
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data on eligibility l`or military medical care and other eligibility systems

Thc Department of Defcnsc strongly supports tito enforcement oi`tlte Scrviccntcntbcrs Civil l{eiiel“.-Xct 150
USCS Appx. §§ 501 et seq] (SCRA} (l`or“rrtcrly the Soldiers' and Saiiors‘ Civii Rcliel`Act ol` 1040). DMDC has
issued hundreds ofthousands ol` "docs not possess any information indicating that thc individual is currently on
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any family membcr, l`ricnd, or representative asserts in any titantter that thc individual is on active duty1 or is
otherwise entitled to the protections ol` lite SCRA, you are stroneg encouraged to obtain l"ttitlicr verification ol`
the person's active duty status by contacting that persott's Militat'y Scrvicc via the "dcl`cnselink.niil" 11111li
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Milit'ary Servicc verification, provisions ol` the SCR.,A may be invoked against yott.

ll` you obtain further inl`oriiiation about the person (` c.g., an SSN, improved accuracy ol` D(_`)B, n middle itan'ic),
you can submit your request again at this ch site and \vc \vill provide a new certificate l`or that qucry.

This response reflects current active duly status only. Foi' historical ittl`orntatioit, please contact the 1\111111111.y
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CIVIL, COURT OF "l`I-]`l§i CITY OF NEW YURK

COUNTY OF BRONX
.............................................................. ){
Bronx Park East, LLC,
lndex No. 100374/03
File No. 4644
Plaintit`i`,
-against- AFFIDA VIT OF
INV “ `
Raymonntl Grandison BST IGATDR
Det"endant('s).
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STATE OF NEW YORK )
)SS.:
COUN"I`Y OF NE,W YC)RK )

I. am over iii years of age, am not
State of New York.

a party to this action and reside in Westchester C?ounty,
1 have been requested by Kavulich & Associates,
an investigation to ascettain if the Det`endant(s)
time in military service for the purpose oi" entry

P.C. attorney f`or the Plaintit`f`, to make
ltaymounci Grandison ls at the present
ot“judgment.

On February 12, 2009, I Denise Miranda, contacts

d the Defeiise manpower Date Center
concerning the Del`endant Raymound Cirandison n

tiiitary status.

I inputted the social security number, as provide

cl by the Det`endant, into the Deferise
Manpoiver Data Cfenter.

Under the Del`endant.‘s social security number l received an affidavit t`rom the Del`ense
Manpower Data Center stating that the said Det`endant is not currently in the military

service ot` the United Slates and the State ot`New Yorl< (N:ti/o;j(iuard). /

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Civil Court of the City of New York ` t
County of Brollx lndex No: CV~10{1374-08/BX

BRONX PAR_K EAST_, L.L.C.
Plsinsff(e)
~8gainst~»
RAYMOND GRA`NDISON
Defendant($)

.`l`udgment chection Notifiestion

The judgment which Wss submitted for the above captioned ease has been rejected by the clerk

for the following reesoo(s) listed below:
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Such Number, Unelole to Forwsrcl'. Meke s motion to the court or take en inquest.
Wl‘len you resubmit yourjudgment epplication, please attach this sheet or a copy to your
submission This will allow the clerk to process your re~submiltel in 8 timely fashion

Thsnl.<; yoo,

Fcbruary 26, 2009 The Judgment Clerk

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commenced by eubatituted service
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per month;

l»`-'_laintiff in the Within action; thia action Waa
omclalnt upon defendant(a) and ia an action for

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mm With interest from liebman-y l, 2007
together With costa and dieburaernenta of the action

Dated'. 10/t6f2008

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Page 23

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............................................................. X FIL'E N<;). 4644
BRONX PARK assn LLC.,
- PLAINTIFF ~ NOT.ICE OF MOTION
_ AGAINST _
RAYMOND GRANDISON.,
- DEFENDANT a

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CIVIL COUR'I` OF THE CITY OF NEW Y`ORK
COUNTY OF BRON`X

Bronx Park East, LLC.
~ PLAI'NTII-“ 1"" ~

» against -

Raymond Grandison
DI_"`,FENDANT -

 

NGTICE OF MO'[`ION FC)R ENTRY OF A DEFAUL'I" JUDGMENT

 

   

 

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BRONX PARK EAST, LLC.
PLA_INTI FF OR[)ER TO SHOW CAUSE
@ IN'DEX NO. 100374/2008 ‘“'
" race deal *‘*

RAYMONI) GRANDISON, OSH`EA i‘{UNTER

DEFENI)ANTS

 

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Upon reading and filing thc annexed affidavit ol" ltayrnond Grandison swom to on .lanuary
l.d, 2013 and upon any exhibits attached to thc atlidavit ,
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loot the party or attorney for the party in opposition show cause at PartM', l{oorn‘§Wot`
this Court' located at 351 Grancl Concoursc_. Bronx, Ncw York on the |E;*hday ol`FebrLtary,
2013 at 9:30arn ot` that day or as soon thereafter as counsel can bc hcard:

Wl-IY and Ordcr should not bc lnadc:

l) Vacating thcjudgmcnt entered against Dct`cndant I{aylnond Grandison.
2) [)ismissing thc action as it pertains to defendant Rayrnond Cirandison.

'l.`ogethcr with such any and other reliel`as may he just and proper under thc circumstances

w l ‘ld
ORDHRED that service ol" this Ordcr to Show Causc he deemed proper by mailing a certified copyf:;t" :::L'}S':?
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l0801, and Osltca li.untcr, 30 Franklin Tcrracc, Apt. 2, l.rvington, NY 071 l `l on or hcl`orc January §l_::-r

2013, and it is further

ORDERED that all further proceedings on this matter ShaIl cease and all parties in this matter arc

Page 26

 

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CJIV`i`L COURT Ol" THE CITY OF NI'JW Y()RK
COUNTY OF THE BRONX

nnnnnnnnn

 

BRONX PA.RK EAST, LLC.

PLAINTIFF AF`F]DAVIT IN SUI’POI{'I'

V.
I`NI)ICX NO. 100374/{}8

‘RAYMOND GRANDISON, OSH`EA H.UNTER

l)EFEN l)ANTS

 

S"l`A'l`E OF NEW YORK }

}ss

COUN"I`Y OF .BRONX }

1)

2)

3)

43

5)

6)

7)

RAYMOND GRANDISON, being duly sworn, deposes and says:

l arn over 18 years old and l ain one of the defendants in the above referenced matter.

l make this afliclavit in support of the Order to Show Cause.

This is the first time that l. arn seeking an Order to Show Cause, t

l have not been served with any ot` the papers regarding this iiia'tter. l was never noti tied ot` any
Court date. l assure you il"i knew oi"a Court date, t would have come to Court.

The first time l` knew about this matter was when my tenants informed that they were served
with a Levy' and Deinand for the rent rnonies.

Fui'thermore, l arn not responsible for the monies owed 'l`liis matter arises out oi'a recital
situation Del"endant Osliea I'luiiter lived iii the subject property and l believe lie did not pay
rent to the l’laintift` and so the Plainiifi`is now suing to recoup the lost rent.

At the time the alleged incident occurred I was not living at the propertyr I. vacated the property
years before the alleged incident occurred l had no lease in eti"`cct at the time the alleged

incident occurred

Page 28

,L,¢.` .a(.-_.._`.__. . . ,.

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ii.r_-»a....-`.
""'M~i tmt-hamm
‘ titwwom.aqu-MW
t tier
..r, .,§i;n '

3) No previous application for the saine or similar relief has been made in this ease.

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,_,-F'\

J/ 'j,f \ _
iii if f MMFM‘OJ)<AM t '{_-»-'d ..-1' .i M_
`Rayiiioiid Grandisf)n

Sworn to before rne on

)fé~§;éay of January, 2013

  

Notary Public

 

 

 

Page 29

   

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v vt-'rmnwwaveanrthins'm\ii|.ewi.WoieN/'i't.i~t.'i

"W,"ri~ '°'"‘T-i""'”§“"°“ -* ingttt‘>niwition ' 'niirrentseataaava'ira»trist=.rrit\aaalicensee
L.t n lege

““'>/'“J-‘MRFW» ware zim/dpw -/
9 West 3801 Sireet, Suite 200 ' Ncw “‘i.’oi'lt, NY 10018 ' l //: l m / /
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(62'7-7425) ' Fttx: (212} 35}3-2()(.)0

» www.New`Yorl:Cityl\/Iai»gha`l_e@m M/A/€W
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636 EAST 223RD ST APT ZF-E rudd/§§

  

re -- » *’
BRONX NY 10466 a
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§ ~/_ 0 ry vs !{"‘"°`**€“'~"~ di lied-c _
17 " 7 ' § 5'5"
sara/rone osai~ioisoii Aivi:) osi~iea si 0 7 y
t HUNTER z’,`_£
GRPEWGS. .rtiocMENT pearce § 9*¢;,‘ try
Attached you will find a Propeity Execution with Notice to Ganiishee. As directed under C.‘FLR §523 (a), you
are required to turn over to me all property of the judgment debtor currently in your possessi`
to exceed the following amounts

on or custody, not

   

 
   
 
     
     

Jodgrnent ...........

  
  
    

 
 

     

$4,335.46
Iriterest ........... $2,02 l ,?ti
Statutory Pees ........ t 395.00
E)tpense ........... $0.00
Poundage ........... $§22.61
'roraL =;> santos

 

Any monies paid to the judgment debtor after receipt of this levy is in violation of certain Nevv 'r’orlt

State l.aws. All monies due the above named judgment debtor for rent, escrow, commission or any other
means, must now be paid directly to the city marshal. l am sorry to put you in this position but have no
other choice since the judgment debtor has failed to meet the obligation set forth by the Civil C,`oui-t.

I’LEASE M.AKE ALL CHECKS PAYABLE TO: NYC MARSHAL STEPHE

Should you have any questions', kindly contact my oftice.
MARSHAL’S DOCK.ET # E 12243

N W. BIEGEL

Very truly yours,

S'l'EPl-IHN W. BIEGEL

l‘vfarshal City ofNew York,
Badge lt,??
SI`GNATURE OF OFFICIAL ACCEPTING LEVY:

PRINTED NAME:

 

 

 

DATE:

 

(BAN}»','\'I"TR]

F’age 30

 

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--------- du "”"“HH__"""“'““" lndcx N(."|'. Lel!lt_"[` 57 '|,rt,£_')y{)j
anx Palrk Eas[’ LLC’ l`fillt-iim No. 2733

Pt'crt'ri r{fj',
EXECUTION
~agairist- WITH NOTICE
TO GAI{NISHEE
Rayniorid Graiid`isoii,
Osliea liuiiter1
Defeiideti ts.

 

'l`l`-IE PE.OPLE C)F THE. STATE OF NEW YORK TO THE SHER]FF OR ANY MARSHAL C)F THE CITY OF

N'EW YORK, GREETH\lG:
WI'IEREAS, in an action in the CIVIL COURT OF TI-l'l':`. ClTY OF NEW YORK. COUNTY O`F BRONX

Beiween Bronit l`-‘ark East, LLC. as plaintiff and
Raymond Grandisori, Oshea Huiiter as defendants

who are all the parties named in said action, ajudgment was entered on 9120/0‘7

in favor oi` Bronit Pat‘lt East, LLC, judgment creditor

and against Raymond Grandison. Oshea i-lunter judgment debtors

whose last known address is 636 Easi 223rd Strcet, Bronx. NY ll)¢tdo
in thc amplici)i\t`pr$l-;t§§§l;tgl;r§li'i`$i}pgci::i)i;tpmrgr;n£i§h $4\335.46 interest thereon from 9/20!0'! remains due and unpaid
i ` , ; DU as satisfy the said 'ud l l l l
d _ l l J giuent out of the personal ro t - \

ipc g:;i:tr;t;i;t;:lo:‘uapd tlirl:1 tilt]:l;is puc to him, and that only the property in which said judgment debtor who is rith da:dc>declfl[:,m abe-vt umle
winn 60 d n u}n s a c erred upon or sold hcreuntler; AND TO Rl`_-.'TURN this execution to the clerk oi'th get 1 its anninierest or

n sys a er issuance unless service of this execution is made within that time or within eaton " c'a mm cullum-led wm
the aitorner(s) for the Judgrneiit creditor. l`“m$ Uflhm mm made "l Wl`lll"‘li l’_‘r'
NC)TICE TO GARNISHEE TG: Sliarmella charry

635 East 2231':| Slt'cct. Apt. ZF-'E Broiix, N‘i’ 10466

WHEREAS, ii appears that you are indebted to the 'ud mem debt - ~
capable of delivery ip which the judgmenimdebtor lias`an interisi,£including, iiiitlii:iitviiriiiir:iiig;lO:hl;lfp)i;ssession or custody or pmme nm
. .NOW’ THERBFOR'E' YOU ARB REQU[RED by mellon 5233(3) ol`tlie Civii Practide Law an§[hng lp`lcmed-dcb[ and l:'rllll'-lt-*"l_\"f
gillcl_ Sllclll:f°r marshal _illl l-_ll"$°"al PFOP¢'W‘HGN-`ttptthle of delivery in which ihejudgiiient debtor is lt n mcs m.nh""'lill m transfer to thc
nw m or hereafter co.mmg mm your lms“lssm" lll Cll"‘l°dy llll:lll'lllllg illlli‘ PmPerty SPecil'iecl iri this t :'l?\i'-n or behl`lv"ill m llil\'e an interest
inarslial, upon maturity, all dcth now due or hereafter coming due from you m Umj“dgnmm debt to‘lt.e. and to pay w me mm sheriff or
noiiec; and to execute any documents necessary to effect Su¢h transfer m paymcm: t or, including any dam amici nod in mm
AND TAI{E NDTICE that until such transfer or payment is made m_ man me ex hour ‘ ..
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forbidden to make or suffer any sale assignment or transfer ef, ny any interference winn any auchy rl:) ‘-\:hlt.liever event tim mccann you am
ofaiiy such deht. to any person Othcr than said sheriff or marshg|* except upon dimc[ions orsaid §§ j‘;_t.rty. or pay over or otherwise dis '.\os ~
thc count ` m forma"'lllll c»"l`tlllr-'ilmni to nn ortii*r oil
AND TAI'{,E FURTI'[E.R NOTICE TH.AT at the expiration ¢f' l]{} days umw a levy is made b v l
further time as the court upon motion of thejui:lgment creditor hat provid¢d‘ this my mall be void § service of this executinn_ or or well
have been transferred or paid to said sheriff or marshal or as to which 3 proceeding under Smiom 452gilj;fcpt as to property w deb‘$ which
and Rules has been brouglit. ` ` “ °r 5227 nlth Civil practice 1an
Dtitetl: 1105/2012

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F’age 31

 

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CIV.`I"L COURT O`F THE CI'I`Y OF N`EW YORK

COUNTY OF THE BRONX

BRONX PARK EAST, LLC.

PLA.INTIFF
V.

RAYMOND G`RANDISON`
OSHEA HUNTE.R

DEFENDANTS

ORDER TO SHOWl CAUS`E

INI`)EX NO. 100374/08

Patrick Holness, .Esq.
Attorney for I)efendent
3870 White _Piains Road
Bronx, `New Yot‘k; 10467

Tel: 914-494»5822
Fax: 347-945»2512

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C`()NSUIVIER CRH.D]T TRANSr-\CTION. FI`i-IIS iS A`N AT'I`EMP'.{` T() COLL.EC'I`1 A DEBT
AND ANY iNi*`ORi\/iA"i"l`()N C)i?i'l`AINED WILL 1315 USED TO CVOLIJEC'F THIS DEBT.
CiViL COUR'l" Oi`*` Ti:-i[i Ci'l`Y ()I" NEW YORK

COUNTY OF` BRONX

______________________________________________________ x

arena sane isaac LLC, 1093‘;’4
i’lnintii`i", INDEX NO.
FiLE NO. 4644

~agninst-
SUMMONS
Phtcc oi`Vcnttc is Plstititil"i"s
` place oi`bttsiness:
ltayinond Grandison1
2822 iiron.\: Paric iiast
Bt'orix, NY 10467
i.`.)c["cndnnt(s`)

 

_______ _______________ x
'i`o the above named del`t-:ndnttts(s):

YOI_J ARE i'il§.i{l`iii`t’ SUMMONE`[) to appear at the C`.I`VIL CC)UR'I" OF THE CITY OI*`
Nl:`SW YORK, COUN'I"Y Ol“~` BRONX at the ol"i'icc of the clerk oi"the said Court at 851 Cirnnd
C`,oncotu'se, Bronn, NY 1045 i , in the CTOUNTY OF BRONX_. State ci"New Yorit, within the
time piovided by law as noted below and to tile au answer to the below complaint with the
ciorit: upon your l'ailtuc to nnswcr, judgment will he taken against von i`ot th sum oii‘_ii_t? ` `
with interest thereon horn l eht'ttnr),r 1,2007' together with costs oi this ac " `

  
  
  

 

 

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i_d._-`»

 
 

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i€.`avtilich - ,Associates_. i’. C`.

 

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g .-;."-- " t»“,s-‘.J.(_;',y 30 C.`litircl“i Stt'ect
-tsf__';‘ .. ` Sititc 26
"" " § _ .” m i\|cw l`~iochclio. NY 10801
` _.`g:‘pjif_ wu r (i) l 4) 355»2074
Del"endant's Addrcss: ` " ii 1¢

l`?tiiyn"iot'td Cirandison
63617£. 2331'd Strect, Apt. ZR
Bronx.`NY 10466»4050

Note: Tlie .itiw provides titat: (n) il` the summons is served by its delivery 19 you perm-imply `
within the City oi" New Yorit, you must appear and answer within 'l"WiiN`.i"t’ days al"tc.r such
servicc;_ or (_h) ii`the summons is served by any means other than personal delivery m you

service thcrcoi`is l"tled with tiic (_".lcrl< oft.|tis C.‘ot.lrt.

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COM`I’LAINT

F`tRST AC'TION: l?laint.it`l" seeks to recover damages from det"endant(s) f`or breach ot`a lease
agreement in the sum of $8,146.78 representing rental arrears For the months of February_, 2007
balance ol` 3140.65; March, 2007 through and including January, 2008 at the agreed monthly
sum of 3727.83 t"or the premises known as 2822 `Bronx Park I.'"iast, Apt.N32 Bronx, NY 10467

together with costs and disbursements ot` this action and for such other and further relief as the
court may deem just.

E>`l§iC-(`,)ND r-\CT 10ng Phtintit"t" seeks to recover d
representing damages together with costs and di
and further relief as the Court may deem just.

arnages from the defendant in the sum ot"$0.00
sbursements ot" this action and t`or such other

Tl`"lll{lj) ACTION: Plaintit"t" seeks to recover d
$500.00 representing re
action and for such oth

antages from the defendant in the sum ol"
asonable attorneys fees together with costs and disbursements ol` this
er t`urther relict`as the C.ourt may deem just.

WHEREFORE, Plaintil't` demands
plus interest from February l,
l`or such other and further relie

judgment (/-\`) on the First ,/-\etion, in the sum oi`SS, 146,78
2007 together with costs and disbursements oti` this action and
t`as the C.ourt may deem just, (`B) on the Second Action_. in the
sum oi` 0.000 plus interest l`rom l`i`ei:u'uz.u'y l, 2007 together with costs and disbursements ol"
this action and fj`or such other and f`urther reliei`as the C..`ourt may deem jnst, (C) on the Third
Action, in the sum ol'$SO0.0U together with costs and disbursements ot` this action and t`or
such other and t"urther reliel`as the C.‘.ourt may deem just

rea restrain in this aaron is No't` required le hs license by the Nsw Yerl< Cl‘-itr
i_`)cpartment of Consuntcr ritt`f"eil'$-

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'l`RAl\lSACCl()N l)l§. CREDlTO D[il, CONSUM[D(`)R ll\/lPOR"l`ANTE!l UD. l'lA SIDO
lle§.l\'lAl\l l`_`J/\DOl li§i”l`l`:`, ES UN DOCUMENTO LEGAI.,-UNA ClTAClON! NO l..A BOTE.' l
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C`.Rli[)l'l`()tl `l`AMBil:";N ES PC)SIBLE QL}l;i 'l“li`,NGA QUE PAGAR TODOS l..OS GASTOS
l.\..EGAl_.lES (COSTOS)! Sl UD. `NO T`l ENE DINERO PARA UN AEOGADO TRAIGA ESTOS
l’r-‘\Pl.-`.t..t'.~`.i§ r-‘\ LA C`.ORTE ltvll\/lEDlA`l`Al\/lEN‘I`E. VENGA l;EN PERSONA "r' EL
SSIECRE`I`ARlO LA COR'l`l-l l_.l§ A`Y`UDARA.

C.'Ol_.ll{"l`l?, CIVIL DE l._A CTt_Ill)A[) Dl§`£ NUEVA 't’ORK,
C`ondado de Bronx Indice #

........................................................ X Claim ii 4644
Rrons Park liast_. LI-C‘,

Demandante~ C,`.l`“l`/\'l`l(.`)l\l
La mann de haber designado
l:`ista Corte est
2822 Bromc Fark blast
Bronx, `NY 10467

»Contra-

Rayntond Cirandison,
Demandado(s).

________________________________________________________ ){

Al demandado arriba meeionado:

l_lSTElD l`jSTA Cl'i`Al`)C_`) a eomparecer en la C.`orte Civil de la Ciudad de Nue\-'a York, C.`ondado
de Brotnr a la ol`iciana del Jet`e Prlncipal de dlcha C.`orte en 851 Grand Citatteottt'se, Bronx, `NY
l045 l . in the C(.')ljl`{'l'l§ Cl\.t'll.. f:)lli l.rf\. CUll',)Al) DE Nl_lEVA \"C)RK, NY en el Condado
de Nue\'n `Y'orl~; Ciudad y listndo de l31'ott.‘~t, dentro del tietnpo provisto por la ley segun abajo
indicndo y presenter rcspuesta a la l'Jen'tt-ictda ajunta al .|et`e de la Corlc. si listed no contparece a
contester, se dictarajuieio en contra soya en la santa de $3,646.78 con intereses Febrt ,
2007'. incluyendo los costos dc usta causa.

 
      

l`~`ecltado: Clctobcr 16, 2008

   

By: (.'El:j;:wiav ft int "‘e{“.
l<lavulieh & §soeiates, l‘.C~
30 Chureh fstreet_. Suite 26

Ncw Roehelle,NY 10301
Del"endtt_l_]mt;:,§wr-}.,_t_‘|dress 014-355»207~1

Rayntond Cirandison

636 E. 233t‘d Street Apt. 2R

Bron_~<1 NY, l0466~4050

Nota: lea ley provce que.' (a) Si csra citacion es entregada a usted personalmentc en la
CTiudad de Nueva York. usted debe comparece y responder dentro de Vicnte dias
despucsde la entt'ega, (b) 31 esta citacion es cntregada a otra persona que no l`uera ttst'ed `
personalrnente_. o si l`uera entrcgada al`uera de la t_.`iudad de Nueva Yorle o per _ntcdro de
publicacion1 o per otros mcdios due no t`ueran entrega personal a usted en lc (_Ttudad de
l\'ueva `t’ork, usted tiene ili`reinta dias para crnnparecer y responder la demanda, despues
de habersc presentath prtteba de entrega de a citaeion al .Fei`e dc csta t,`.orte_

F'age 35

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C() il/l`.l’LAIN*l`

l‘Rl`h'll?,RA ACC!C)I\: el l)emandante procure recuperar danos del demandao (`s) para la
violaeion de un acuerdo de arriendo en la sums de $B_,l46.73 dolares que representan atrasos de
alquiler para los moses del equilibrio Febt‘ttat'y, 2007 balance Of $140.65; dolares; Mal"Ch,
2007 a tra\-'és de e incluso lanuary, 2003 en la suma mensual concordada de $727.83 local
eonocido come 2322 Bt'ot‘nt littrk li`ast N32 Bt'ott>t, NY .10467jttntos con gastos y
rlesetnholsos de esta accion y para tal otro alivio y adieional come el tribunal puede juagar solo.

MW”N__M: el Dcmandante procure rccuperar datios del dentandado en la serna de

fli 0 dolares que rcpresentttn danosjunt'os con gastos y desembolsos de esta accion y para tal otro
nlivio y adicional etlando el 'l`ribunal puede _juagar solo_

']`I`*IRCERA ACCI(§N: el ljemanclante proeut'a recuperar danos del demandado en la santa de
55 500.00 dolares que representan honoraries de abogados razonahles_iuntos con gastos y
desembo|sos de esta accion y para tal otro alivio y adicionat cuando el "l'riunal puede juzgar solo.

l’OR §`LU`E. el Demandante esige eljuieio (A) en la l"rimcra Aeeion, en la sutna de $3,146,73
l`_Jolares mas el intents a partir del liebruary l, 2007juntos con gastos y desemholsos de csra
accion y para tai otro alivio y adicional cuando el Tribunal puedc_iuzgar solo, (B) en la Segunda
Acelon, en la santa de 30 dolores mas el interest el l de February l, 2007juntos con gastes y
desernl')olsos de esta aceion y para tal otto alivio y adieional come el 'l`ribunal puertenjuzgar solo,
(CT) en la 'l`ercera /\ceion, en la sums de $500.00 dolares mas cl interés el jtltttos con gastos y

desembolsos de esta accit")n y para ta| otro tilivio y adicional etlaltdo cl dl"ribttnnl pttedejuzgar
solo.

l" l l.")emtmdante en lists Acciou no csra obligado a ser licenciado por el li)cpartamento de
asuntos de (_?ot‘tsttntitictt' de la Cliudad de Ntieva "Y'orl<.

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Cl'VlL COUR.T OF Tl~lE CITY OF N_EW YORK

85 l GILAND CONCOURS E, BASEMENT

BRONX, NY 10451 ggmj mfg F `
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eaoaor, NY lease

CI'\/’ll.J C`.OUR'l` ()F Tl-illi C`l'l"t” Ol*` NEW Yl?t(`)l§.` C,`OI_INTY OI*` lBRONX
INDEX NU.MBER 100374!08
'l`RlBUNAI.,. CIVIL l`_`)l;`£ LA CUIDAD 1313 NUEVA YORK

PALl.`NTI.l"FfDHMANDz-’tN'l`E BRON`X PAR.K EAST [,l.C,
DEFENDANT/DEMANDADO RAYMONT_`) GRANDISON

ATTENTION: A SUMMC)NS AND COMPLAINT HAS BE€EN l""ILED C)N A CONSUMER
C`REDIT Tl`{ANSACTIC)N ASKINC] TH`E C.,‘OUR'l` 'l`€) R\ENDER A IUDGMENT AGAINS'l`
YC)U. YC)U MAY WlSl-l 'l"(') C(_`)NTACFT AN A'FI`ORNEY. YOU MUST ANSWER A'I" 'l"l-l`E
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APPIEAR lN COL}RT Ml`I~I 13 COUR"I" MAY GRAN'.[` A JUDGMENT A(i`iAINST YC)U. l.l"" A
JUDG'MENT 13 GRAN'I`HD AGAINS'I` YOLJ, YOU 11 l’l{OFERTY CAN HE "l`.»'-\.`KEN, PART
Ol`-` YO UR I’AY CAN Bli' 'l`AKEN FROM Y'(`)`l_l (`G¢’-\I»U\Tl.‘iil"lli`lil.)), AND YOUR CRl.iDI"l`
RA'I`ING CAN 1313 Al""`l"`EC"l"ED. ll`" YOU HAVE NO'l" I{I$tjll:`:l'\/l`*ll) T]'IE SUMMONS ANl.`)
COMPI_.A]NT GO TC) 'l`l-`ll"i CTlVlL C`.TOUR"I` CLERK`S (j)l?FIC.TE Sl’lli('_.'lli`ll€l:) t)i\l 'l`l-l}_`:`
RETUI`~IN ADDRESS AND 131{[1\1(3 'l`l'-'llS NO"l`lC 13 Wl'l`l'l \’OL.L

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t-ta soMETtoo own outntsttta Y ona erraeron .loi.)t<;:nu, mere st. 'rtu‘sunat,
ctvtt, sot..tcn'At~tot') otis ss tsa/nra on r/\Lt,o iur:)tctat. tire ci;:ot~n"tta sum, port
so ours us't`so Qt)snna c.:oMuNteanst-i-; con on neon/too ust‘so rtst non
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AFFIDAVIT C)F SERVICE

civic count or res cn'v or NEW voter index tva 100374/08
counrv or secret rtt¢a.- _m_”___.

Attornevs: l{avulich ‘& Associates, P.C.

Address: 30 Chureh St:reet, Suite 26, New Rochelle, NY 10801 i"ile No. 4644

BRONX PARK EAST LLC,

VS.
RAYMC\ND GRAND!SON,
State of New York Ceunry ot`Nassau SS:
ngpg G. Evans 1|, being duly sworn deposes and says:

Deponent is not a party ltercin, is over 18 years of age. On [;love@ber 8, 2003 at Q_:Q.'ip.m.._

r'\t: 6 . 233"' Stre »t A t. ZR Brnnx Y 466 served the within Summons and Cornplaint

oll: RAYMOND GRANDIS()N, Defenclant therin named

lndividual `lii_v delivering a true copyl of“ each to said recipient: deponent knew the person

[] served to be the person described as said person thcrein.
Cerporation By`delivering to and leaving with W_____“_“___ and that deponent lutew the
[ ] person so served and authorized to accept service on behalfot"the Corporation
Suitab|e Age Eiy delivering a true copy of each to a person ot`suitable age and discretion m _
Pcrson Said premises is recipients [ ] actual place of business [] dwelling house within the f\r - -_3
[] state ¢~;, ft .““"
ca ‘s`s." ,
Ml"lxing 13}' at'l`t:<ing a true copy oi`eaeh to the door oi`said premises. which is recipients H_" ` ' mr 7
to Door [ ] actual place of business [X] dwelling house (plaee ol`abode) within the starer*~'_ r;; "":`
» gm tim -…
E_c"' m r_';_: '
Mail Copy On MgMngO, 200§ deponent completed service under the last two sections b§_'C' 35 "i`-“ ij
[ X ] depositing a copy ol" the Suntrnons and Complaint to the above address in a t'“ E- "'; -.'.'.,?c(i'_~'-i
Class properly addressed envelope marked “Personnl and Confidential" in an ofticia`r" )§r<",' id

depositedl under the exclusive care and custody ot` the Unitcd States Po

oiNcw `rorlc.

st C€lfi‘ice in the Statc

Deponent was unal:\lcl with due diligence to find the recipient or a person ol` suitable age

and discretion having called theresa

On the 5"‘ day ol`Novcmber, 2003 at 12: 1 |p.m.
fin the ?"` day oft-lovembcr, 2008 at l:55p.mi
On the 8“’ da_v oi`Nevcmber, 2003 at 9:03p.rn.

Dcscription .-f\ description oi` the DeFendant, or other person served on behati`oi`the Det`¢nd

ill’il

[] Sex:__(.”,‘otor ol'" sk:n: _Color of Hair: tiger _F____wHeight' Weight;

Military Svee Dr:pnnent asked person spoken to whether the recipient was present-ly in mi|;¢m.y
[ x ] service of'thc Unitcd Eltates Governrnent or of the State ol`New York and was
imported that the recipient is np,t_. Recipient wore civilian clothes and ne military uniform

Cttlter _ _ ‘ fn
{`X]"Joltn lilee" neighbor stated that the De endant is not tn the n'iilit.ary._‘.-l 92

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41 _ `-
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Aston .i. Evg;

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Page 39

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A.FFIDAVIT OF SHRVICE
CIVIL C()URT OF THE Cl'l"‘l" OF NEW Y'(]RK lndex No. 1003 711/03
CGUNTY OF BRONX Ftled: m

Attomeys: Kavulich & Associatcs, P.C.
Address: 30 Church Street, Suite 26, New Rochelle, NY 10801 File No. 4644
BRONX PARK EAST LLC,

vs.
RAYMOND GRAN DISDN,
State of l~iew Yorlt County oi`Nassau SS:
Aston G. Evans Il`, being duly sworn deposes and says:
Deponent is not a party herein, is over 18 years of age. On _l;iovemher 3. 200_3“ at 9:03 o.rn_

l¢tt'c 636 E. 233"' Street. Apt£k, Brogg, N`lr' lilde served the within Sunimons and Complaint
on: RAYMOND GRANDISON, Del`endant therin named

individual By delivering a true copy ol` each to said reeipient: deponent knew the person

[] served to be the person described as said person therein.
Corporation By delivering to and leaving with M w and that deponent knew the
[ ] person so served and authorized to accept service on behalf of the Corporation
Suitahle Age By delivering a true copy of each to a person of suitable age and discretion
Pcrson Said premises is recipients [ ] actual place of business [_] dwelling house within the
[] statc.
r\ffixing By affixing a true copy of each to the door ol`said premises, which is recipients
to Door [ ] actual place ol` business [X] dwelling house (place ol`abode) within the state
[X-l
Mail Copy On Ngvgmber `!0, 200§ deponent completed service under the last two sections by
[ X ] depositing a copy ol` the Sammons and Complaint to the above address in a l*‘

Class properly addressed envelope marked “Personal and Conf`idential" in an official
depository under the exclusive care and custody of the United States Post Ol"ficc in the $tate
ofNew Yorlt.

Dcponent was unable, with due diligence to find tlte recipient or a person of` suitable age
and discretion having called thereat:

On the 5"‘ day oi“Novcrrtbcr, 2008 at 12: l lp.m.
On the 7“` day of Novetnber, 2008 at |:55p.m.
On the 3“' day of Novernber, 2008 at 9:03p,m.

Description A. description of the Dcl`endant, or other person served on behalf ol` the Det'endant
[] Sex:_“Color of skin: F_,_W_M_Ctilor of Hair: Agc: __,_ i-{eigltt; Wcight: ___h___

Military Svce Dcponettt asked person spoken to whether the recipient was presently in military
f }C ] service ofthe United Statcs Governmcnt or of`thc State of New Yorlt and was
. informed that the recipient is sgt Reeipient wore civilian clothes and no military uniform
Ot_her

[X],,Jnhn pace neighbor stated that the D endant is not in the tnilitar)%/ `

     

 

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